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                                                      March 8, 2022


BY ECF
The Honorable Ronnie Abrams
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

       Re: United States v. Kermit Irizzary, a/k/a “Kerm,” 17 Cr. 142 (RA)

Dear Judge Abrams:

       Kermit Irizzary is before this Court for sentencing on a violation of supervised release
(VOSR) after having been sentenced to an 84-month prison term on January 10, 2022 for the
same conduct forming the basis of his VOSR. For the following reasons, the defense
respectfully requests that this Court impose either a concurrent term of incarceration on the
VOSR, which it may do notwithstanding the policy statements in the United States Sentencing
Guidelines, or impose a modest portion of any sentence to run consecutive to the 84-month
period Mr. Irizzary is already facing.

       1. Original Offense Conduct and Sentence

        In 2019, this Court sentenced Mr. Irizzary for his role in a racketeering conspiracy. ECF
421. When weighing an appropriate sentence, this Court took into account the seriousness of the
offense conduct as well as the mitigating factors, including his youth, the length of his
incarceration in state custody, his social and personal history and his family support. ECF 430 at
22-24. One thing that could not be captured in that original sentence was the time that Mr.
Irizarry had already fully served a sentence for a state-court robbery conviction that formed a
basis for the conduct underlying the original federal offense. ECF 417 at 5, fn 6. In other words,
Mr. Irizarry did, in a sense, serve more than the recommended term for the original federal
offense conduct by: first, serving a full term for it in state custody; and, then, having it counted
toward his federal sentence, both with the conduct as an underlying act for purposes of the
offense level calculation and the fact of the conviction as contributing to his criminal history
score. Id.

       Ultimately, this Court imposed a sentence of 33-months in prison to run concurrent with
the remainder of a 60-month sentence that Mr. Irizzary was already serving for possession of a
weapon in New York State custody – conduct that formed a basis for the federal racketeering
case. ECF 417 at 4. Given the state prison term preceding the original federal sentence, by the
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time his term on the original federal charge was completed, Mr. Irizzary at age 25 had spent one-
quarter of his life in prison. While certainly disappointing, perhaps given this, it is not a
complete surprise that his transition out of custody was not without problems.

       2. New Federal Charge and Sentence

         On January 19, 2021, Mr. Irizzary was arrested for a violation of 18 U.S.C. § 922(g). U.S.
v. Irizzary, 21-cr-60 (S.D.N.Y.) (MKV). He was charged with being a person previously
convicted of a felony offense who possessed ammunition. Id., ECF 5. He pleaded guilty to that
charge on October 1, 2021. Id. at ECF 27. The government had stated in a Pimentel letter that its
calculation of the Sentencing Guidelines range, assuming a three-point reduction for acceptance
of responsibility, was 77 to 96 months. Id., ECF 31 at 3. The defense did not object to that
calculation, but did note that the range was largely driven by Mr. Irizzary’s criminal history,
much of which dated to before he turned 18 years old. Id., ECF 30 at 2 fn 1.

       At sentencing, relying largely on the offense conduct – which, as described by the
government, included the discharge of a weapon – the Court in the new matter imposed a mid-
Guidelines sentence of 84-months in custody. See Sentencing Tr. at 19-21.

       3. Current VOSR

        Mr. Irizarry was released from federal custody on February 14, 2020 with an expiration
date for supervised release of February 13, 2023. On November 25, 2020, the Probation
Department submitted a petition for violation of supervised release, which it amended following
the arrest on the new charge. On February 8, 2022, Mr. Irizarry admitted to the facts underlying
specification six of the VOSR, which is the same offense conduct as that underling the new
federal charge and sentence.

       4. A Concurrent Prison Term or Modest Period of Consecutive Incarceration
          Would be Sufficient but Not Greater Than Necessary to Accomplish the Goals of
          a VOSR Sentence

        As the Court no doubt recalls from the original case, Mr. Irizzary’s life has been marked
by hardship and bad choices. He originally grew up in the Bronx in a violent public housing
project. While Mr. Irizzary’s mother for a short time relocated the family to Massachusetts,
where a young Kermit Irizzary thrived, the family returned to the Bronx and the violence, crime
and gangs of his original home. The violence – to which Mr. Irizzary has acknowledged he
contributed – was inescapable, and blinded some to the very role they played in perpetuating it.
Following the murder by gunshot of his best friend in 2014, Mr. Irizzary saw the weapon as both
a means of self-protection and avengement for his friend’s death. His possession of ammunition
here and his prior possession of a firearm are, to say the least, seriously concerning – but they
were not motivated solely by an interest in harming others and, fortunately, did not result in
physical harm to others.
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        In any event, the underlying offense conduct, especially when already addressed by a
new criminal sentence, is not and should not be the primary consideration in fashioning a
punishment for a VOSR. As expressly set forth in the statute governing VOSR sentences, 18
U.S.C. § 3583 (e), the only 18 U.S.C. § 3553(a) sentencing factor that cannot be considered is
the need for a sentence “to reflect the seriousness of the offense, to promote respect for the law,
and to provide just punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).

        Indeed, this is the reason behind the Sentencing Guidelines policy statement and non-
binding statement that “[a]ny term of imprisonment imposed upon the revocation of …
supervised release shall be ordered to be served consecutively to any sentence of imprisonment
the defendant is serving,” even if such term “resulted from the conduct that is the basis of the
revocation of … supervised release.” U.S.S.G. § 7B1.3(f). As the Second Circuit has explained,
“at revocation the court should sanction primarily the defendant’s breach of trust, while taking
into account, to a limited degree, the seriousness of the underlying violation and the criminal
history of the violator.” United States v. Sweeney, 90 F.3d 55, 57 (2d Cir. 1996); see also
U.S.S.G. Ch. 7, Pt. A (Introduction) (primary goal of a sentence for a VOSR is the “defendant’s
breach of trust, while taking into account, to a limited degree, the seriousness of the underlying
violation and the criminal history of the violator.”); United States v. Gonzalez, 634 F. App’x 15,
18 (2d Cir. 2015); United States v. Sindima, 488 F.3d 81 (2d Cir. 2007). Thus, to the extent this
Court relies on the nature of the underlying VOSR conduct, that is an argument in favor of
running any VOSR sentence concurrent to the existing 84-month term.

        As for the breach of trust here, the Probation Department’s recommendation of the
statutory maximum for a Grade B violation (which is two-times as long as the low end of the
Guidelines-recommended term) is largely driven by the facts underlying his new arrest which,
the Probation Department argues, “is clear evidence that he is a risk to the community, and he
cannot be safely supervised.” See Amended VOSR at 7. Even if those statements are true, it is
that risk and that danger that were captured by the existing 84-month sentence for the new
charges and that is outside the scope of the VOSR sentencing statute. As the Sentencing
Guidelines explain, any new term of incarceration on the VOSR must be primarily premised on
the breach of trust reflected by the violation to which Mr. Irizzary has admitted, not the
seriousness of the offense or just punishment concerns.

        With respect to the other sentencing factors that must inform this Court’s imposition of
any term of incarceration on Mr. Irizzary – whether run concurrent or consecutive – his history
and characteristics remain largely the same as at the original sentencing and the sentencing on
the new matter. His youth and background were and remain factors contributing to his bad
choices; his family remains at the ready to welcome him home (with several family members
traveling from Florida solely to appear at his sentencing hearing on the new case and confirm
that they continue to support Mr. Irizzary); any rehabilitative needs will be adequately served by
the existing 84-month term (with any additional period of time not meaningfully providing
further opportunity for rehabilitation); and any services that the Bureau of Prisons can provide
for educational, vocational or other ends will not be more available if Mr. Irizzary were to serve
time beyond that 84-month term.
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        Further, to the extent any VOSR sentence will run consecutive to the seven-years Mr.
Irizzary will be serving on the new charges, the theory undergirding consecutive terms weighs in
favor of a modest consecutive sentence. Here, Mr. Irizzary is already facing a long term in
prison. Any additional punishment for breach of trust should not add substantially to the existing
term – which, at its end (even without additional time for the VOSR), will mean that Mr. Irizzary
will have spent about 14 nearly uninterrupted years in prison, between the ages of 18 and 32.
The current 84-month sentence will, alone, adequately address the breach of trust represented by
the new arrest and any time run concurrent to that should be short.

       5. Conclusion

       For all of the foregoing reasons, we respectfully request that this Court impose a sentence
on the VOSR that is below or at the low-end of the recommended Guidelines range, and that it
consider running some or all of that sentence concurrent with the existing 84-month term.

                                                    Respectfully,


                                                    /s/ Megan W. Benett

cc:    All counsel of record via ECF/CM
